         Case 4:08-cr-00054-DPM Document 430 Filed 11/05/14 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  No. 4:08CR00054-01 JLH

ANTONIO TOREL PERSON

                                             ORDER

       Antonio Torel Person has filed a petition under 28 U.S.C. § 2255 for relief from his

conviction for conspiracy to interfere with commerce by robbery and brandishing a firearm during

a crime of violence. The United States must file a response within thirty days from the entry of this

Order. Person’s reply will be due within fourteen days after the United States files its response.

       IT IS SO ORDERED this 5th day of November, 2014.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
